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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                         )
UNITED STATES OF AMERICA )
                         )
     v.                  )                            Case No. 23-cr-10159-IT
                         )
JACK DOUGLAS TEIXEIRA,   )
                         )
     Defendant.          )
                         )

                            STIPULATED PROTECTIVE ORDER

       Upon motion of the government and with the assent of the defendant, Jack Teixeira, this

Court finds that restrictions are necessary to protect the confidentiality of certain information and

ORDERS pursuant to Rule 16(d)(1) that the defendant and his counsel, and the government, are

hereby bound to the following restrictions with regard to certain of the government’s discovery

materials:

       1.       For the purpose of this order, “discovery materials” means all items produced by

the government in discovery labeled “SENSITIVE – SUBJECT TO PROTECTIVE ORDER.”

The “defense team” means the defendant, his attorneys and their staff, and any experts retained by

the defendant or his attorneys.

       2.       The defense team will only provide copies of the discovery materials to those

persons employed by defense counsel who are necessary to assist counsel in preparation for trial,

appeal or post-conviction litigation, and to such persons as the defense counsel deems necessary

to further legitimate investigation and preparation of this case

       3.       Only members of the defense team may view the discovery materials. The defense

team will not disseminate the discovery materials to persons not a party to, or involved in, this
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case. The defense team shall use all discovery materials exclusively in connection with this case,

including investigation, trial preparation, trial, and appeal and post-conviction litigation. All

discovery materials shall be maintained by the defense team in a place and manner such that only

members of the defense team have access to them. A copy of this Protective Order shall be kept

with the discovery materials at all times.

       4.       The defendant and defense team, and the government, will not publicly post,

publish or in any way disseminate any of the discovery materials on the Internet, in a newspaper

or in any media platform, whether it be electronic or not. To the extent the government or the

defense team wishes to file any of the discovery materials on the public docket (as an exhibit to a

motion, for example), they shall seek leave of court to file the discovery materials under seal.

       5.       No person, including the defendant, who receives or reviews any of the discovery

materials subject to this Order shall use such material in any way except to assist counsel for the

defendant in the investigation or preparation of this case, and shall not disseminate such material

in any way to any other person or entity, except as provided for in this Protective Order.

       6.       Prior to making any authorized disclosures under this Order, the defense counsel

shall advise any person to whom they wish to disclose the discovery materials of this Protective

Order and provide them with a copy of it. In addition, prior to making any authorized disclosures

under this Protective Order, the defense counsel shall ensure that any person with whom they share

the discovery materials agrees to abide by the terms of this Order.

       7.       At the conclusion of this criminal matter, the defendant and his counsel shall return

the discovery materials to the government. The defense counsel shall also destroy any derivative

contents of such discovery materials, i.e., translations of e-mails or documents (if any exist), other

than attorney work product.
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8.       Any modification of this Protective Order will only be done by order of the Court.



                                      SO ORDERED.


                                      ___________________________________
                                      HONORABLE DAVID H. HENNESSY
                                      UNITED STATES MAGISTRATE JUDGE

                                      DATE:




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